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                                  UNITED STATES DISTRICT COURT
   7
                                 CENTRAL DISTRICT OF CALIFORNIA
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 10    GUY CARLSON,                                     Case No. LACV 19-056-VBF (LAL)

 11                                   Petitioner,       JUDGMENT
 12                         v.

 13    KELLY SANTORO,

 14                                      Respondent.

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 16
 17          Final judgment is hereby entered in favor of the respondent and against petitioner Guy
 18    Carlson. IT IS SO ADJUDGED.
 19
 20    DATED: October 13, 2021                              /s/ Valerie Baker Fairbank
 21                                                 ________________________________________
                                                     HONORABLE VALERIE BAKER FAIRBANK
 22                                                  SENIOR UNITED STATES DISTRICT JUDGE

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